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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

RICHARD DOUGHTIE, III, United
States Bankruptcy Trustee for
VINCENT O'NEIL BROOKS,

 

Plaintiff,

No. 03-2073 Ml/An

ASHLAND, INC. d/b/a VALVOLINE
INSTANT OIL CHANGE,

Defendant.

 

ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT’S MOTION FOR
SUMMARY JUDGMENT

 

Before the Court is the Motion for Summary Judgment of
Defendant Ashland, Inc., d/b/a Valvoline Instant Oil Change,
filed March 30, 2005.1 Plaintiff filed a response on May 4,
2005. For the following reasons, Defendant’s motion is GRANTED

in part and DENIED in part.2

 

l Defendant's motion for leave to file a reply brief in

support of its motion for summary judgment, filed May l3, 2005,
is DENIED as moot because the Court, in this order, grants
Defendant's motion for summary judgment without having considered
Defendant's reply brief.

2 Defendant filed a separate Statement of Undisputed
Material Facts along with its motion. (“Def.’s SUMF”), to which
Plaintiff did not respond as required by Local Rule
7.2(d)(3){“the opponent of a motion for summary judgment who
disputes any of the material facts upon which the proponent has
relied ... shall respond to the proponent’s numbered designations

both in the response and by affixing to the response copies
of the precise portions of the record relied upon to evidence the
(continued...)

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with sure 53 and/or 79(3) FHCP on 5 " 2 ‘:[;-'OS' @

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I. BACKGROUND AND RELEVANT FACTS

The instant case arises out of Defendant's termination of
the employment of Vincent O’Neil Brooks on October 21, 2002.3 On
February 3, 2003, Mr. Brooks filed his Complaint alleging that
the termination violated his rights under Title VII of the Civil
Rights Act, 42 U.S.C. § 2000e et seg; (“Title VII”), the
Americans With Disabilities Act, 42 U.S.C. § l2lOl et seq. (the
“ADA”), and the Family and Medical Leave Act, 29 U.S.C. § 2601 et
seq. (the “FMLA”).q

Mr. Brooks began working for Defendant on September l, 1993.
On October 21, 2002, his employment was terminated because he
failed to call in to report an unexcused absence while on
probation for poor job performance. At the time his employment
was terminated, Mr. Brooks, who is African-American, worked as a
Service Center Manager at the Valvoline lnstant Oil Change

located on Mt. Moriah Rd. in Memphis, Tennessee.

 

(continued...)
opponent's contention that the proponent's designated material
facts are at issue.”). Rather, Plaintiff included a narrative

“Statement of Facts” section, in which Plaintiff did not dispute
Defendant's statement of undisputed facts. Accordingly, the
Court finds that the facts relied upon by Defendant in its motion
are not in dispute.

3 The instant action was originally filed by Mr. Brooks. On
March 16, 2005, the Court granted Plaintiff's motion to amend his
Complaint and substitute Richard Doughtie, III, the United States
Bankruptcy Trustee for Mr. Brooks, as Plaintiff in this case.

4 An Amended Complaint was filed on August l, 2003,
substituting Ashland, Inc. as Defendant.

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As the Service Center Manager, Mr. Brooks was responsible
for operating the service center and supervising six to seven
employees,r including assistant managers. Johnny Zellerman, the
Area Manager, was his immediate supervisor. Rich Varel, the
Regional Manager, was Mr. Zellerman’s immediate supervisor.

In conjunction with his position, Mr. Brooks attended
training classes on discrimination, harassmentr equal employment
opportunity, and Family and Medical Leave Act policies. He had
also terminated subordinate employees for failing to show up to
work their scheduled hours.

Defendant maintains a Family and Medical Leave Act policy in
the employee handbook that describes the procedure by which an
employee may request leave under the FMLA. With respect to
taking FMLA leave, the policy provides that “[e]xcept in
emergencies, you must give 30 days notice by filling out a
‘Family Leave Form.’ This will allow [Valvoline] to arrange for
job coverage.” (Def.’s SUMF, Ex. l at 31.) Mr. Brooks was
familiar with Defendant’s employee handbook and the policies and
procedures within it, and distributed it to new employees. The
location at which Mr. Brooks worked also has a bulletin board, on
which he was responsible for posting Defendant’s policies and
procedures, including the FMLA policy.

On or about September 9, 2002, Mr. Brooks received a Service

Center Manager Performance Appraisal. (Def.’s SUMF, Ex. 3.) On

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that evaluation, which he signed, Mr. Brooks received an overall
score of four for each of the first three quarters of 2002, which
corresponds to “did not meet expectations.” (ld.) On or about
September 26, 2002, Mr. Zellerman met with Mr. Brooks to inform
him that, based upon his performance during the past six months,
he was being placed on probation for various reasons including
his failure to return phone calls, pages, and voicemails. Mr.
Brooks was issued a probation form in conjunction with this
decision, which he signed. (Def.'s SUMF, EX. 4.)

On October ?, 2002, Mr. Brooks advised Mr. Zellerman that he
was scheduled for outpatient surgery the next day to have his
tonsils removed.5 A prescription from Dr. Larry Duberstein
indicates that Mr. Brooks was scheduled for outpatient surgery on
October 8, 2002, at 7:30 a.m. at Baptist East Hospital. (Def’s
SUMF, Ex. 5.) lt is undisputed that Mr. Brooks did not fill out
a “Family Leave Form” before his surgery. Between October 7,
2002, and October 20, 2002, Mr. Brooks did not have any
conversations with Mr. Zellerman, Mr. Varel, or anyone in

Defendant’s Human Resources department. During that time period,

 

5 Mr. Brooks contends that he informed Mr. Zellerman that he
was going to have surgery on his tonsils as early as September
26, 2002, although the operation had not been scheduled at that
time. Mr. Brooks also contends that, on September 26, 2002, he
verbally requested that he be put on medical leave, rather than
sick leave.

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Mr. Zellerman tried to call Mr. Brooks several times. Mr. Brooks
was aware of Mr. Zellerman’s efforts to reach him.

During that time period, Mr. Brooks was staying at his
fiance’s home and contends that he was unable to speak. At some
point, Mr. Brooks's brother called an Assistant Manager at
Valvoline, Joseph McCaig, to let him know that Mr. Brooks was not
going to make it to work during the week he had hoped to be back.
Mr. Zellerman was notified that Mr. Brooks’s brother had called
to state that he would not be in to work during the week ending
October ll.

Mr. Brooks also mailed his hospital discharge papers to Mr.
Zellerman along with a hand-written note from Mr. Brooks stating
that he would return to work on October l9, 2002.6 (Deposition
Excerpts of Vincent O’Neil Brooks (“Brooks Dep.”), Docket No. 55,
at 2l3.)j lt is undisputed that Mr. Brooks did not send Mr.
Zellerman a doctor’s note indicating when he would be able to
return to work. (Id. at 214.) Mr. Brooks also admits that
nothing in the papers he mailed to Mr. Zellerman indicated that
he was unable to return to work. (Id. at 322.) Sometime prior to

October 20, 2002, Mr. Brooks spoke to Erin Norry at Valvoline and

 

6 Neither party has introduced into the record copies of the

papers mailed by Mr. Brooks.

7 The handwritten note written by Mr. Brooks stated “date

back to work, 10/19/02.” (Brooks Dep. at 213.)

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informed him that he would return to work on October 20, 2002.
Mr. Brooks reported to work on October 20, 2002.

Mr. Brooks admits that, from the time he was discharged from
the hospital until he returned to work on October 20, 2002, his
only contact with Dr. Duberstein, who performed his surgery, was
on October 18, 2002.a (Id. at 322.) His first follow-up visit
with Dr. Duberstein after his October 7, 2002, surgery was on
October 3l, 2002. (Id.)

On or about October 20, 2002, Mr. Zellerman contacted the
Human Resources department and Mr. Varel regarding Mr. Brooks.
Based upon his being on probation, as well as his failure to
report to work after his surgery, the Human Resources Department
and Mr. Varel decided to terminate Mr. Brooks. On October 2l,
2002, Mr. Brooks was discharged.

On October 31, 2002, Mr. Brooks filed a charge of race
discrimination with the Equal Employment Opportunity Commission
(“EEOC”). Mr. Brooks subsequently received a notice of right to
sue letter dated November 5, 2002, In support of his claim, Mr.
Brooks contends that he was replaced as Service Center Manager by
a white male, Chris Bing, and that a similarly situated Causasian
manager, Michael Kenslow, was not treated in the same manner
after he was absent from work for several weeks following

reproductive organ surgery in May of 2002,

 

3 lt appears that this contact was by telephone.

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Mr. Brooks further contends that, during his tenure as
Service Center Manager, he terminated the employment of three
African-American employees, with Mr. Zellerman's approval.
However, on two occasions when he recommended termination of
white employees,r he was overruled by Mr. Zellerman and not
allowed to terminate their employment, even though one employee
had shoved him. Additionally, Mr. Brooks contends that, during
October of 2002, Mr. Zellerman told him that there were too many
black employees working at the Mt. Moriah store, and that he
intended to racially balance the work crews. (Brooks Dep. at
167:3-168:7; l68:20-2l). Specifically, Mr. Brooks testified at
his deposition that Mr. Zellerman told him that the Mt. Moriah
location was not as profitable as it could have been “because
there [were] not enough mixed employees in that location” (Brooks
Dep. at 169:1-5) and that Mr. Zellerman asked him “[b]y you
having a lot of black employees at your store, do you think that
that is intimidating to the customers that come in in your area?”
(Brooks Dep. at 168:16-18).

II. STANDARD OF REVIEW

Under Federal Rule of Civil Procedure 56(c), summary
judgment is proper “if the pleadings, depositions, answers to
interrogatories, and admissions on file, together with the
affidavits, if any, show that there is no genuine issue as to any

material fact and that the moving party is entitled to judgment

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as a matter of law.” Fed. R. Civ. P. 56(c); see also Celotex
Corp. v. Catrett, 477 U.S. 317, 322 (1986). So long as the
movant has met its initial burden of “demonstrat[ing] the absence
of a genuine issue of material fact,” Celotex, 477 U.S. at 323,
and the nonmoving party is unable to make such a showing, summary
judgment is appropriate. Emmons v. McLaughlin, 874 F.2d 35l, 353
(6th Cir. 1989). ln considering a motion for summary judgment,
“the evidence as well as all inferences drawn therefrom must be
read in a light most favorable to the party opposing the motion.”
Kochins v. Linden-Alimak, Inc., 799 F.2d 1128, 1133 (6th Cir.
1986}; see also Matsushita Elec. Indus. Co. v. Zenith Radio
ggrpé, 475 U.S. 574, 587 (1986).

When confronted with a properly”supported motion for summary
judgment, the nonmoving party “must set forth specific facts
showing that there is a genuine issue for trial.” Fed. R. Civ.
P. 56(e); see also Abeita v. TransAmerica Mailings, Inc., 159
F.3d 246, 250 (6th Cir. 1998). A genuine issue of material fact
exists for trial “if the evidence [presented by the nonmoving
party} is such that a reasonable jury could return a verdict for
the nonmoving party.” Anderson v. Libertv Lobbv, lnc., 477 U.S.
242, 248 (1986). In essence, the inquiry is “whether the
evidence presents a sufficient disagreement to require submission
to a jury or whether it is so one-sided that one party must

prevail as a matter of law.” ld. at 251-52.

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III. ANALYSIS

Defendant moves for summary judgment regarding Plaintiff's
claims of discrimination under the FMLA, Title Vll, and the ADA.
The Court will address these claims in turn.

A. The Family and Medical Leave Act

Defendant first moves for summary judgment regarding
Plaintiff's claim under the FMLA. The FMLA requires employers to
provide up to twelve workweeks of leave “[b]ecause of a serious
health condition that makes the employee unable to perform the
functions of the position of such employee.” 29 U.S.C. §
2612(a)(l)(D). lt is unlawful for an employer to “interfere
with, restrain, or deny the exercise of or the attempt to
exercise, any right provided” by the FMLA. 29 U.S.C. §
2615(a)(l). Further, “employers cannot use the taking of FMLA
leave as a negative factor in employment actions, such as hiring,

promotions or disciplinary actions; nor can FMLA leave be counted

 

under ‘no fault’ attendance policies.” Cavin v. Honda of America
Mfg.c lnc., 346 F.3d 7l3, 726 (6th Cir. 2003)(citing 29 C.F.R. §
825.220(c)}.

Defendant first contends that Mr. Brooks did not qualify for
FMLA leave because he did not suffer from a “serious health
condition.” A “serious health condition" is defined by the FMLA
as “an illness, injury, impairment, or physical or mental

condition that involves ... inpatient care in a hospital,

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hospice, or residential medical care facility; or ... continuing
treatment by a health care provider.” 29 U.S.C. § 2611(11).
United States Department of Labor regulations implementing the
FMLA define a “serious health condition” involving continuing
medical treatment by a medical provider as one that involves:
A period of incapacity (i.e., inability to work, attend
school or perform other regular daily activities due to
the serious health condition, treatment therefor, or
recovery therefrom) of more than three consecutive
calendar days ... that also involves: (A) Treatment two
or more times by a health care provider, by a nurse or
physician's assistant under direct supervision of a
health care provider, or by a provider of health care
services (e.g., physical therapist) under orders of, or
on referral by, a health care provider; or (B)
Treatment by a health care provider on at least one
occasion which results in a regimen of continuing
treatment under the supervision of the health care
provider.
29 C.F.R. § 825.114 (emphasis added), quoted in Perry v. Jaguar
of Troy, 353 F.3d 510, 514-15 (6th Cir. 2003).

Drawing all inferences in favor of the Plaintiff, the record
indicates that Mr. Brooks may have been incapacitated due to
surgery on his tonsils for more than three consecutive calendar
days. However, Plaintiff fails to point to any evidence in the
record to show that Mr. Brooks’s condition involved treatment two
or more times by a health care provider or treatment by a health
care provider on at least one occasion which resulted in a
regimen of continuing treatment under the supervision of the
health care provider. ee 29 C.F.R. § 825.114; see also Lackey

v. Jackson Countv, Tennessee, No. 03~5193, 104 Fed. Appx. 483,

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2004 WL 1491636 at * 4 (6th Cir. June 22, 2004); (finding
plaintiff did not suffer from “serious health condition” despite
chronic back problems, diabetes and high blood pressure where
employee failed to produce evidence that he was incapacitated due
to his health problems for more than three days.). Rather, it is
undisputed that Mr. Brooks's first follow-up appointment with the
doctor who performed the surgery was on October 31, 2002, 11 days
after Mr. Brooks returned to work. Accordingly, Plaintiff fails
to establish that Mr. Brooks suffered from a “serious health
condition” under the FMLA.

Even if Plaintiff were to establish that Mr. Brooks suffered
from such a condition, however, the undisputed evidence shows
that Mr. Brooks failed to provide sufficient notice of his
asserted request for FMLA leave. When an employee's need for
FMLA leave is foreseeable, an employee who wishes to request
leave under the FMLA must generally provide thirty days' notice

to the employer. 29 U.S.C. § 2612(e).9 When the need for FMLA

 

9 Specifically, the FMLA requires that an employee:

shall provide the employer with not less than 30 days'

notice, before the date the leave is to beginr of the

employee’s intention to take leave under such

subparagraph, except that if the date of the treatment

requires leave to begin in less than 30 days, the

employee shall provide such notice as is practicable.
29 U.S.C. § 2612(e)(2){B). The employee need not expressly
mention the FMLA when requesting leave, but must convey to the
employer information reasonably adequate to apprise the employer
of the employee's request to take leave for a serious health
condition. 29 C.F.R. § 825.302(c).

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leave is not foreseeable, an employee “should give notice to the
employer of the need for FMLA leave as soon as practicable under
the facts and circumstances of the particular case. lt is
expected that an employee will give notice to the employer within
no more than one or two working days of learning of the need for
leave, except in extraordinary circumstances where such notice is
not feasible.” 29 C.F.R. § 825.303(a). ln light of the FMLA and
the relevant Department of Labor Regulations implementing the
statute, the United States Court of Appeals for the Sixth Circuit
has described the notice requirement of the FMLA as follows:

To invoke the protection of the FMLA, an employee must
provide notice and a qualifying reason for requesting
the leave. However, an employee does not have to
expressly assert his right to take leave as a right
under the FMLA. Because an employee need not expressly
invoke the FMLA, the critical question is whether the
information imparted to the employer is sufficient to
reasonably apprise it of the employee's request to take
time off for a serious health condition. An employee
gives his employer sufficient notice that he is
requesting leave for an FMLA-qualifying condition when
he gives the employer enough information for the
employer to reasonably conclude that an event described
in the [FMLA] has occurred ... What is practicable,
both in terms of the timing of the notice and its
content, will depend upon the facts and circumstances
of each individual case.

gayig, 346 F.3d at 723-24 (citations and internal quotation marks
omitted).

Here, drawing all inferences in favor of Plaintiff,
Defendant was aware that Mr. Brooks was undergoing outpatient

surgery on his tonsils,r that he would not be able to make it to

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work during the week he had hoped to return, that he originally
planned to return to work on October 19, 2002, and later that he
would return to work on October 20, 2002.10 lt is undisputed,
however, that Mr. Brooks did not provide Defendant with any
medical documentation to show the extent or seriousness of his
condition or any time frame upon which he was medically cleared
to return to work. The Court therefore finds that the above
facts did not provide Defendant with enough information to
“reasonably conclude that an event described in the [FMLAl has
occurred.”ll §§yin, 346 F.3d at 723-24. Accordingly, Mr. Brooks
did not provide Defendant with adequate notice that an FMLA-
qualifying event had occurred. Defendant's motion for summary
judgment is therefore GRANTED regarding Plaintiff’s claim under

the FMLA.

 

m lo support all of the above contentionsr Plaintiff cites

portions of Mr. Brooks's deposition which are not attached to
Plaintiff’s motion and which have not been filed with the Court.
Accordingly, those portions of Mr. Brooks’ deposition are not
within the record before the Court.

n ln his response to Defendant’s motion, Plaintiff also
contends that Mr. Brooks verbally requested to be on medical
leave, not sick leave, prior to his surgery. (Pl.'s Mem. of Law
in Supp. of Pl. Richard T. Doughtie, lll’s Resp. and Obj. to Def.
Ashland, lnc. d/b/a Valvoline lnstant Oil Change's Mot. for Summ.
J. at 3.) To support that contention, however, Plaintiff cites a
portion of Mr. Brooks’s deposition which is not attached to
Plaintiff's motion and which has not been filed with the Court.
Accordingly, that portion of Mr. Brooks’ deposition is not within
the record before the Court.

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B. Title VII

Defendant next moves for summary judgment regarding
Plaintiff's claim of race discrimination under Title Vll. ln the
absence of direct evidence of discrimination, race discrimination
claims are analyzed under the burden-shifting framework set forth
in McDonnell Douqlas Corp. v. Green, 411 U.S. 792 (1973), and
refined in Texas Dep’t of Cmtv. Affairs v. Burdine, 450 U.S. 248
(1981). Under this approach, a plaintiff must first establish a
prima facie case of discrimination. Burdine, 450 U.S. at 252.
Establishing a prima facie case creates a rebuttable presumption
that the employer engaged in unlawful discrimination. St. Mary’s
Honor Ctr. v. Hicks, 509 U.S. 502, 506 (1993). Once the
plaintiff has established a prima facie case, the burden shifts
to the employer to produce a legitimate, non-discriminatory
reason for the adverse employment action. Burdine, 450 U.S. at
252-53. The burden is not onerous. An employer will satisfy its
burden as long as it articulates a valid rationale for its
decision. Hartsel v. Keys, 87 F.3d 795, 800 (6th Cir. 1996).

lf the employer meets this burden, the plaintiff may still
prevail if he shows that the reasons offered by the defendant are
a pretext for discrimination. Burdine, 450 U.S. at 253. To
prove pretext, the plaintiff must introduce admissible evidence
to show “that the proffered reason was not the true reason for

the employment decision” and that racial animus was the true

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motivation driving the employer’s determination. high§r 509 U.S.
at 508. Throughout the analysis, the ultimate burden of proof
remains with the plaintiff. ld; at 511.

Alternatively, a plaintiff may establish a prima facie case
of discrimination by presenting “direct evidence of
discriminatory intent.” Nguven v. City of Cleveland, 229 F.3d
559, 563 (6th Cir. 2000)(citing Price Waterhouse v. Hopkins, 490
U.S. 228 (1989)). For example, “a corporate decision maker's
express statement of a desire to remove employees in the
protected group is direct evidence of discriminatory intent.” _l_d4
(citing Trans World Airlines, lnc. v. Thurston, 469 U.S. 111, 121
(1985); LaPointe v. United Autoworkers Local 600, 8 F.3d 376,r
379-80 (6th Cir. 1993). “ln direct evidence cases, once a
plaintiff shows that the prohibited classification played a
motivating part in the employment decision, the burden of both
production and persuasion shifts to the employer to prove that it
would have terminated the employee even if it had not been
motivated by impermissible discrimination.” ld; (citations
omitted).

A plaintiff may also prove discrimination through a mixed-
motive theory of discrimination. ln a mixed-motive case, an
adverse employment decision is the result of a mixture of
legitimate and illegitimate motives. Wexler v. White's Fine

Furniturel lnc., 317 F.3d 564,r 571 (6th Cir. 2003). ln such a

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case, the plaintiff must show that unlawful discrimination was a
motivating factor in the adverse employment decision through

either direct or circumstantial evidence. Desert Palace, lnc. v.

 

QQ§ta, 539 U.S. 90, 101 (2003). Once a plaintiff shows that an
employer relied in part on illegitimate factors in making its
adverse employment decision, the burden then shifts to the
employer to prove by a preponderance of the evidence that the
same decision would have been made without considering the
illegitimate factors. Wexler, 317 F.3d at 571.

ln this case, Plaintiff contends that Mr. Brooks was treated
less favorably than a similarly situated Caucasian employee who
was not terminated following a medical absence, and/or that he
was terminated due to his race and replaced by a Caucasian
employee. Defendant contends that Plaintiff cannot establish a
prima facie case of discrimination because Plaintiff fails to
point to any evidence in the record to show that the individual
was similarly situated or that Mr. Brooks was treated less
favorably than he was. Defendant further contends that Mr.
Brooks’s poor job performance provided a legitimate non-
discriminatory reason for Mr. Brooks’s termination, which
Plaintiff cannot show was pretext for discrimination.

To establish a prima facie case of race discrimination, a
plaintiff must show that: (1) he was a member of a protected

class; (2) he suffered an adverse employment action; (3) he was

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qualified for the position; and (4) he was replaced by someone
outside the protected class or was treated differently from a
similarly situated employee outside his protected class.
Warfield v. Lebanon Corr. lnst., 181 F.3d 723, 728-29 (6th Cir.
1999). Here, there is no dispute that Mr. Brooks was a member of
a protected class based upon his race (African-American), that he
suffered an adverse employment action (termination}, and that he
was qualified for the position of Service Center Manager.12
Plaintiff further points to evidence that Mr. Brooks was replaced
by an employee outside his protected class.13 Accordingly,
Plaintiff has established a prima facie case of race
discrimination.

Moreover, there is direct evidence in the record of
discriminatory intent. Specifically,r the statements which Mr.

Brooks alleges were made by Mr. Zellerman regarding there being

 

n Although Defendant claims that Mr. Brooks was not
qualified for the position on account of his poor performance,
such a consideration is properly taken into account during the
Court’s evaluation of Defendant's purported legitimate non-
discriminatory reason for terminating Mr. Brooks, rather than at
the prima facie stage. See Cline v. Catholic Diocese of Toledo,
206 F.3d 651, 661 (6th Cir. 2000)(finding District Court
committed reversible error by considering evidence of poor job
performance with respect to the question of whether an employee
was qualified for the position).

m Mr. Brooks contends that he was replaced by a Caucasian
named Chris Bing, based upon his observation of Mr. Bing working
at the Mt. Moriah Valvoline location. Although Defendant
contends that Mr. Bing and Mr. Brooks were not similarly
situated, that analysis does not pertain to whether Mr. Brooks
was replaced with an individual outside his protected class.

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too many African-American employees working in the Mt. Moriah
store and his desire to racially balance the work crews, if
proven true, would be direct evidence of discriminatory intent.
Accordingly, the burden would then shift to Defendant to show
that it would have terminated Mr. Brooks even if it had not been
motivated by impermissible discrimination.

Defendant has articulated a legitimate non-discriminatory
reason for Mr. Brooks’s termination - namely, that Mr. Brooks
failed to promptly notify Defendant of his return date and
provide medical documentation for his absence, after having been
put on probation for poor job performance. Howeverr because
there exists evidence in the record which, if proven true, would
establish direct discriminatory intent, a genuine issue of
material facts exists regarding whether Defendant would have
terminated Mr. Brooks even if it had not been motivated by
impermissible discrimination. Accordingly, Defendant is not
entitled to summary judgment regarding Plaintiff’s claim of
discrimination under Title Vll.

C. The ADA

Defendant next moves for summary judgment regarding
Plaintiff's claim under the Americans with Disabilities Act.
Specifically, Defendant contends that Mr. Brooks failed to
exhaust his administrative remedies and, even if he had satisfied

the exhaustion requirements, Plaintiff cannot establish that Mr.

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Brooks was a qualified individual with a disability or was
terminated due to any disability.
“Federal courts do not have subject matter jurisdiction of
[ADA] claims unless the claimant explicitly files the claim in an
EEOC charge or the claim can reasonably be expected to grow out
of the EEOC charge.” See Jones v. Sumser Retirement Vill., 209
F.3d 851, 853 (6th Cir. 2000)(citation omitted). Here, Mr.
Brooks filed an EEOC charge alleging race discrimination, but not
disability discrimination. The narrative portion of the EEOC
charge reads as follows:
l was discharged from the position of Service Center
Manager by the above named employer on October 20,
2002. l was told that l was discharged because l was a
no-call, no-show for several days. l made my manager
aware prior to this alleged act that l was going to the
doctor to seek medical attention, up to and including
surgery, on my tonsils, which impacted on my ability to
speak. l am aware that a similarly situated White male
manager was not treated in the same manner after he was
off several weeks following reproductive organ surgery
in May 2002. l was hired by the company on September
1, 1993. l have been replaced by a White male.
l believe that l was discriminated against because of
my race (Black) in violation of Title Vll of the Civil
Rights Act of 1964, as amended.

(Pl.’s Compl., Ex. 1.) Based upon the EEOC charge and the

relevant law, the Court finds that an ADA claim could not

reasonably be expected to grow out of the EEOC charge, and

therefore that the Court does not have subject matter

jurisdiction over Plaintiff's ADA claim.

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Even if this Court could exercise subject matter
jurisdiction over Plaintiff’s ADA claim, however,r no genuine
issues of material fact exist and Defendant is entitled to
judgment as a matter of law regarding Plaintiff’s ADA claim.

To establish a prima facie case of discrimination under the
ADA, a plaintiff must show that he: (1) is disabled under the
meaning of the ADA; (2) is otherwise qualified to perform the
essential function of the job; and (3) that the employer
terminated him due to the disability. Gantt v. Wilson Sporting
Goods Co., 143 F.3d 1042, 1047 (6th Cir. 1998)(citation omitted).
ln order to prove that he is disabled under the ADA, a plaintiff
must show that he (1) has a physical or mental impairment that
substantially limits one of more of his major life activities; or
(2) that he has a record of such an impairment; or (3) that he is
regarded as having such an impairment. _ee 42 U.S.C. § 12102(2).

Plaintiff points to no evidence in the record to show that
Mr. Brooks's tonsilitis substantially limited one or more of his
major life activities, that he had a record of such an
impairment, or that he was regarded as having such an impairment.
Accordingly, Plaintiff cannot establish a prima facie case of

disability discrimination.14 Even if Plaintiff were able to

 

]4ln his response to Defendant’s motion, Plaintiff does not
specifically respond to Defendant’s contention that his ADA claim
must fail. The Court assumes that Plaintiff contends that Mr.
Brooks's tonsilitis formed the basis of his disability claim.

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establish a prima facie case of disability discrimination,
however, Defendant has articulated a legitimate nondiscriminatory
reason for Mr. Brooks’s termination - namely, that Mr. Brooks
failed to promptly notify Defendant of his return date and
provide medical documentation for his absence, after having been
put on probation for poor job performance. Plaintiff points to
no evidence in the record to show that Defendant's reason was
pretext for disability discrimination. Defendant's motion for
summary judgment is therefore GRANTED regarding Plaintiff’s claim
of discrimination under the ADA.
IV. CONCLUSION

For the foregoing reasons, Defendant’s motion for summary
judgment is GRANTED in part and DENIED in part. Defendant's
motion for summary judgment is GRANTED with respect to
Plaintiff's claims under the FMLA and the ADA, which are hereby
DlSMlSSED with prejudice. Defendant’s motion for summary
judgment is DENlED with respect to Plaintiff’s claim of race
discrimination under Title Vll. Plaintiff’s Title Vll claim will

therefore proceed to trial.

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So ORDERED this 34 day of May, 2005.

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JO P. MCCALLA
UN TED S'I'ATES DISTRICT JUDGE

 

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ES DISTRIC COURT - WSTERN DRISTICT oF "EESSEE

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This notice confirms a copy of the document docketed as number 90 in
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Honorable J on McCalla
US DISTRICT COURT

